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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS

   CITY OF BOSTON, THE BOSTON PUBLIC               )
   HEALTH COMMISSION, THE BOSTON                   )
   HOUSING AUTHORITY,                              )
                                                   )
                       Plaintiffs,                 )   Civil Action No. ___________
                                                   )   (Removal from: Superior Court
               v.                                  )   Department, Commonwealth of
                                                   )   Massachusetts)
   PURDUE PHARMA L.P.; PURDUE PHARMA,              )
   INC.; THE PURDUE FREDERICK COMPANY              )
   INC.; TEVA PHARMACEUTICALS USA,                 )
   INC.; CEPHALON, INC.; JOHNSON &                 )
   JOHNSON; JANSSEN PHARMACEUTICALS,               )
   INC.; ORTHO-MCNEIL-JANSSEN                      )
   PHARMACEUTICALS, INC. n/k/a JANSSEN             )
   PHARMACEUTICALS, INC.; JANSSEN                  )
   PHARMACEUTICA, INC. n/k/a JANSSEN               )
   PHARMACEUTICALS, INC.; ENDO HEALTH              )
   SOLUTIONS INC.; ENDO                            )
   PHARMACEUTICALS, INC.; INSYS                    )
   THERAPEUTICS; CARDINAL HEALTH INC.;             )
   MALLINCKRODT LLC; MALLINCKRODT                  )
   PLC; SPECGX LLC; MCKESSON                       )
   CORPORATION; AMERISOURCEBERGEN                  )
   DRUG CORPORATION; WALGREENS                     )
   BOOTS ALLIANCE d/b/a WALGREEN CO                )
   d/b/a WALGREENS OF MASSACHUSETTS,               )
   LLC; DR. FATHALLAH MASHALI; NEW                 )
   ENGLAND WELLNESS & PAIN                         )
   MANAGEMENT, P.C. a/k/a NEW ENGLAND              )
   PAIN ASSOCIATES, P.C. OF                        )
   MASSACHUSETTS AND RHODE ISLAND,                 )
   a/k/a GREYSTONE PAIN MANAGEMENT,                )
   INC., a/k/a NEW ENGLAND PAIN                    )
   INSTITUTE, P.C.; and JANE DOES 1 – 50,          )
                                                   )
                       Defendants.                 )


                                     NOTICE OF REMOVAL

           PLEASE TAKE NOTICE that, pursuant to 28 U.S.C. §§ 1331, 1441, 1446, and 1367,

Defendant AmerisourceBergen Drug Corporation (“ABDC”) has removed the above-captioned


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action from the Superior Court Department, Commonwealth of Massachusetts, to the United

States District Court for the District of Massachusetts. As grounds for removal, ABDC states:

I.         NATURE OF REMOVED ACTION

           1.      On September 13, 2018, the City of Boston, the Boston Public Health

Commission, and the Boston Housing Authority (“Plaintiffs”) filed City of Boston v. Purdue

Pharma L.P., et al., in the Superior Court Department, Commonwealth of Massachusetts. The

court transferred the action to the Business Litigation Session and assigned the case

No. 1884CV02860BLS2.

           2.      The Complaint asserts claims against three groups of Defendants.1

           3.      The first group of defendants consists of Purdue Pharma L.P.; Purdue Pharma

Inc.; The Purdue Frederick Company Inc.; Teva Pharmaceuticals USA, Inc.; Cephalon, Inc.;

Johnson & Johnson; Janssen Pharmaceuticals, Inc.; Ortho-McNeil-Janssen Pharmaceuticals, Inc.

n/k/a Janssen Pharmaceuticals, Inc.; Janssen Pharmaceutica, Inc. n/k/a Janssen Pharmaceuticals,

Inc.; Endo Health Solutions Inc.; Endo Pharmaceuticals Inc.; Insys Therapeutics; Mallinckrodt

LLC; Mallinckrodt plc; and SpecGx LLC (collectively, “Manufacturer Defendants”).

           4.      The second group of defendants consists of ABDC; Cardinal Health, Inc.;

McKesson Corporation; and Walgreens Boots Alliance (collectively, “Distributor Defendants”).

           5.      The third group of defendants consists of Dr. Fathallah Mashali and “New

England Wellness & Pain Management, P.C., a/k/a New England Pain Associates, P.C. of

Massachusetts and Rhode Island, a/k/a Greystone Pain Management, Inc., a/k/a New England

Pain Institute, P.C.” (collectively, “Mashali Defendants”). Compl. ¶ 43.


1
  In addition to the three groups of Defendants, the Complaint also purports to state claims
against unknown Defendants described as “JANE DOES 1 – 50.”



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           6.      With respect to the Distributor Defendants, Plaintiffs complain of over-

distribution of prescription opioids into Massachusetts and failures “to maintain effective

controls, and to investigate, report, and take steps to terminate suspicious orders.” Compl. ¶ 1.

           7.      The Complaint asserts five counts against ABDC and the other Distributor

Defendants: public nuisance (Count I); violations of the provisions of Mass. Gen. Laws ch. 93A

(Count II); negligence and negligent misrepresentation (Count III); fraud and fraudulent

misrepresentation (Count IV); and unjust enrichment (Count V). See Compl. ¶¶ 358-436, Prayer

for Relief.

           8.      In support of its causes of action, Plaintiff alleges, among other things, that

federal law requires the Distributor Defendants “to detect, report, and refuse to ship suspicious

orders of opioids in order to prevent diversion of these dangerous drugs for non-medical

purposes[,]” and, further, that the Distributor Defendants have allegedly “been cited and fined by

the DEA [federal Drug Enforcement Administration] and/or DOJ [federal Department of Justice]

for failing to maintain effective controls against diversions.” Compl. ¶ 43. Plaintiff specifically

alleges, among other things, that the Distributor Defendants have violated the duties governing

reporting and shipping of “suspicious” opioid orders arising from the federal Controlled

Substances Act (“CSA”) and its implementing regulations. See Compl. ¶¶ 9, 192-211, 213, 217-

41, 261, 263, 265-70, 281-87, 364, 385-86, 400-06, 415.

           9.      Because the duties governing reporting and shipping “suspicious” opioid orders

arise from the CSA and its implementing regulations, Plaintiff pleads that alleged violations of

federal law form the basis for its claims.

           10.     On December 5, 2017, the Judicial Panel on Multidistrict Litigation (“JPML”)

formed a multidistrict litigation (“MDL”) and transferred opioid-related actions to Judge Dan




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Polster in the Northern District of Ohio pursuant to 28 U.S.C. § 1407. See In re Nat’l

Prescription Opiate Litig., MDL No. 2804 (J.P.M.L. Dec. 5, 2017), ECF No. 328. More than

1,000 opioid-related actions are pending in the MDL, including more than 90 actions originally

filed in this District.2

           11.    ABDC intends to tag this case immediately for transfer to the MDL.

           12.    In accordance with 28 U.S.C. § 1446(a), copies of all process, pleadings, and

orders served on ABDC in the state court action are attached as Exhibit A.

II.        TIMELINESS OF REMOVAL

           13.    ABDC was served with the Complaint on September 21, 2018.

           14.    ABDC has not responded to the Complaint in state or federal court.

           15.    In accordance with 28 U.S.C. § 1446(b), this notice of removal is timely filed

within 30 days of service of Plaintiffs’ Complaint. See Murphy Bros., Inc. v. Michetti Pipe

Stringing, Inc., 526 U.S. 344, 354-56 (1999) (30-day removal period begins to run upon service

of summons and complaint).

           16.    “If defendants are served at different times, and a later-served defendant files a

notice of removal, any earlier-served defendant may consent to the removal even though that

earlier-served defendant did not previously initiate or consent to removal.” 28 U.S.C.

§ 1446(b)(2)(C).




2
 See, e.g., JPML Dkt. No. 2060 (CTO-46) (transferring 6 cases from D. Mass. to MDL); JPML
Dkt. No. 2025 (CTO-45) (transferring 17 cases from D. Mass. to MDL); JPML Dkt. No. 1894
(CTO-42) (transferring 11 cases from D. Mass. to MDL).



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III.       PROPRIETY OF VENUE

           17.    Venue is proper in this Court pursuant to 28 U.S.C. § 1441(a) because the venue

where the state court action was pending prior to removal is a state court within this federal

district and division.

IV.        BASIS OF REMOVAL

           18.    Removal is proper pursuant to 28 U.S.C. §§ 1441 and 1331 because Plaintiffs’

claims present a substantial federal question under the CSA, 21 U.S.C. §§ 801, et seq.3

           19.    The original jurisdiction of the district courts includes jurisdiction over “all civil

actions arising under the Constitution, laws, or treaties of the United States.” 28 U.S.C. § 1331.

           20.    “Whether a case ‘arises under’ federal law for purposes of § 1331” is governed by

the “well-pleaded complaint rule.” Holmes Grp., Inc. v. Vornado Air Circulation Sys., Inc., 535

U.S. 826, 830, 839 (2002).


3
  A defendant need not overcome any artificial presumptions against removal or in favor of
remand. In Breuer v. Jim’s Concrete of Brevard, Inc., 538 U.S. 691 (2003), the Supreme Court
unanimously held that the 1948 amendments to the general federal removal statute, 28 U.S.C.
§ 1441(a), trumped the Court’s prior teachings in Shamrock Oil & Gas Corp. v. Sheets, 313 U.S.
100 (1941), and its antecedents, that federal jurisdictional statutes must be strictly construed
against any recognition of federal subject matter jurisdiction, with every presumption indulged in
favor of remand. Id. at 697-98 (“[W]hatever apparent force this argument [of strict construction
against removal] might have claimed when Shamrock was handed down has been qualified by
later statutory development. . . . Since 1948, therefore, there has been no question that whenever
the subject matter of an action qualifies it for removal, the burden is on a plaintiff to find an
express exception.” (emphasis added)); see also Exxon Mobil Corp. v Allapattah Servs., Inc., 545
U.S. 546, 558 (2005) (construing 1990 enactment of 28 U.S.C. § 1367, authorizing supplemental
federal subject matter jurisdiction, and holding: “We must not give jurisdictional statutes a more
expansive interpretation than their text warrants; but it is just as important not to adopt an
artificial construction that is narrower than what the text provides . . . Ordinary principles of
statutory construction apply.” (citation omitted)).
More recently, a unanimous Supreme Court in Mims v. Arrow Financial Services, LLC held:
“Divestment of district court jurisdiction should be found no more readily than divestment of
state court jurisdiction, given the longstanding and explicit grant of federal question jurisdiction
in 28 U.S.C. § 1331.” 565 U.S. 368, 379 (2012) (brackets and citations omitted).



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           21.    Even when state law creates the causes of action, a complaint may raise a

substantial question of federal law sufficient to warrant removal if “vindication of a right under

state law necessarily turn[s] on some construction of federal law.” Merrell Dow Pharm. Inc., v.

Thompson, 478 U.S. 804, 808-09 (1986) (citation omitted); see Gully v. First Nat’l Bank, 299

U.S. 109, 112 (1936) (“To bring a case within [§ 1441], a right or immunity created by the

Constitution or laws of the United States must be an element, and an essential one, of the

plaintiff’s cause of action.”).

           22.    “[F]ederal jurisdiction over a state law claim will lie if a federal issue is:

(1) necessarily raised, (2) actually disputed, (3) substantial, and (4) capable of resolution in

federal court without disrupting the federal-state balance approved by Congress.” Gunn v.

Minton, 568 U.S. 251, 258 (2013); see Grable & Sons Metal Prods., Inc. v. Darue Eng’g & Mfg.,

545 U.S. 308, 315 (2005). “Where all four of these requirements are met . . . jurisdiction is

proper because there is a ‘serious federal interest in claiming the advantages thought to be

inherent in a federal forum,’ which can be vindicated without disrupting Congress’s intended

division of labor between state and federal courts.” Gunn, 568 U.S. at 258; see also One & Ken

Valley Hous. Grp. v. Maine State Hous. Auth., 716 F.3d 218, 224 (1st Cir. 2013) (federal

jurisdiction is proper “where a state-law claim necessarily raises a stated federal issue, actually

disputed and substantial, which a federal forum may entertain without disturbing any

congressionally approved balance of federal and state judicial responsibilities” (citation and

alteration omitted)); Rhode Island Fishermen’s All., Inc. v. Rhode Island Dep’t Of Envtl. Mgmt.,

585 F.3d 42, 48 (1st Cir. 2009) (“To satisfy the rule, the plaintiff's well-pleaded complaint must

exhibit, within its four corners, either an explicit federal cause of action or a state-law cause of

action that contains an embedded question of federal law that is both substantial and disputed.”).




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           23.    As set forth below, this case meets all four requirements.4

           24.    Although Plaintiffs ostensibly plead some of their theories of recovery against

ABDC as state law claims, they base the underlying theory of liability on ABDC’s alleged

violations of federal law or alleged duties arising out of federal law, specifically the CSA, i.e.,

that some of its otherwise lawful shipments of prescription opioids were unlawful because they

were shipped in fulfillment of suspicious orders that ABDC allegedly had a duty to identify,

report, and then not ship.

           25.    The source of the asserted legal duty to monitor and report suspicious orders of

controlled substances is the CSA, 21 U.S.C. §§ 801, et seq., and its implementing regulations, 21

C.F.R. § 1301.71(a), as the Complaint itself acknowledges. See Compl. ¶ 192; id. ¶ 193

(“Recognizing a need for greater scrutiny over controlled substances due to their potential for

abuse and danger to public health and safety, the United States Congress enacted the Controlled

Substances Act in 1970. The CSA and its implementing regulations created a closed-system of

distribution for all controlled substances and listed chemicals. . . .”); id. ¶ 194 (“The CSA

requires manufacturers and distributors of Schedule II substances like opioids to[,]” among other

things, “maintain effective controls against diversion . . . and [] design and operate a system to

identify suspicious orders of controlled substances, halt such unlawful sales, and report them to

the DEA.”); id. ¶ 197 (quoting 21 C.F.R. § 1301.74(b)); id. ¶ 206 (quoting 21 C.F.R. §§

1301.71(a), 1306.04(a)).




4
  The substantiality inquiry as it pertains to federal question jurisdiction is distinct from the
merits of the case and has no bearing on the strength of Plaintiffs’ underlying claims. See Gunn
v. Minton, 568 U.S. 251, 260 (2013) (“The substantiality inquiry under Grable looks . . . to the
importance of the issue to the federal system as a whole.”).



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           26.    The source of the asserted legal duty to suspend shipments of suspicious orders is

21 U.S.C. § 823(b) and (e), as interpreted by the Drug Enforcement Administration (again,

“DEA”) of the United States Department of Justice. Specifically, DEA interprets the public

interest factors for registering distributors under the CSA, 21 U.S.C. § 823(b) and (e), to impose

a responsibility on distributors to exercise due diligence to avoid filling suspicious orders that

might be diverted to unlawful uses. See Masters Pharm., Inc. v. Drug Enf’t Admin., 861 F.3d

206, 212-13 (D.C. Cir. 2017) (citing In re Southwood Pharm., Inc., Revocation of Registration,

72 Fed. Reg. 36,487, 36,501, 2007 WL 1886484 (Drug Enf’t Admin. July 3, 2007), as source of

DEA’s “Shipping Requirement”).

           27.    Plaintiffs’ theories of liability against ABDC and other Distributor Defendants, as

pled in the Complaint, are predicated on allegations that ABDC and Distributor Defendants

Cardinal and McKesson breached alleged duties under the CSA to implement effective controls

to detect and report “suspicious” pharmacy orders for prescription opioids and—crucial to

Plaintiffs’ claims—to “halt” or refuse to ship such orders to Massachusetts pharmacies, and,

similarly, that Walgreens violated alleged duties under the CSA to report and decline to fill

“suspicious” orders. See Compl. ¶¶ 192-211, 217-41, 261, 263, 265-70, 281-87, 364, 385-86,

400-06, 415.

           28.    Specifically, Plaintiffs invoke federal law to support their claims and plead that

ABDC and the other Distributor Defendants violated federal law with, among others, the

following allegations:

                  a.     “All registrants [under the CSA] – which includes all manufacturers and

                         distributors of controlled substances – must adhere to the specific security,

                         recordkeeping, monitoring and reporting requirements that are designed to




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                        identify or prevent diversion. When registrants at any level fail to fulfill

                        their obligations, the necessary checks and balance collapse. The result is

                        the scourge of addiction that has occurred.” Compl. ¶ 193.

                  b.    “To ensure that even drugs produced within [DEA-assigned] quota are not

                        diverted, Federal regulations issued under the CSA mandate that all

                        registrants, manufacturers and distributors alike, ‘design and operate a

                        system to disclose to the registrant suspicious orders of controlled

                        substances.’” Compl. ¶ 197 (quoting 21 C.F.R. § 1301.74(b)).

                  c.    “Under the CSA, pharmacy registrants are required to ‘provide effective

                        controls and procedures to guard against theft and diversion of controlled

                        substances.’” Compl. ¶ 206 (quoting 21 C.F.R. § 1301.71(a)).

                  d.    “Defendants breached these duties by failing to: (a) control the supply

                        chain; (b) prevent diversion; (c) report suspicious orders; and (d) halt

                        shipments of opioids in quantities they knew or should have known could

                        not be justified and were indicative of serious problems of overuse of

                        opioids.” Compl. ¶ 213.

                  e.    “The DEA also repeatedly reminded the Defendants of their obligations

                        under federal law, mirrored in and incorporated by Massachusetts law, to

                        report and decline to fill suspicious orders . . . . The DEA has also briefed

                        wholesalers regarding legal, regulatory, and due diligence responsibilities

                        since 2006. During these briefings, the DEA pointed out the red flags

                        wholesale distributors should look for to identify potential diversion.”

                        Compl. ¶ 217.




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                   f.    “Distributor Defendants have faced repeated enforcement actions for their

                         failure to comply with their obligations to report and decline suspicious

                         orders, making clear both that they were repeatedly reminded of their

                         duties, and that they frequently failed to meet them.” Compl. ¶ 220; see

                         also Compl. ¶¶ 222-23, 281 (purporting to describe DEA enforcement

                         actions against Distributor Defendants).

                   g.    “Through the above statements made on their behalf by their trade

                         associations,” in Masters Pharmaceutical, Inc. v. Drug Enforcement

                         Administration, “and other similar statements assuring their continued

                         compliance with their legal obligations, Distributor Defendants not only

                         acknowledged that they understood their obligations under the law, but

                         they further affirmed that their conduct was in compliance with those

                         obligations.” Compl. ¶ 286.

                   h.    “These public statements [by Distributor Defendants] created the false and

                         misleading impression that the Distributor Defendants rigorously carried

                         out their duty to report suspicious orders and exercise due diligence to

                         prevent diversion of these dangerous drugs, and also worked voluntarily to

                         prevent diversion as a matter of corporate responsibility to the

                         communities their business practices would necessarily impact.” Compl. ¶

                         287.

                   i.    “By failing to maintain a closed system that guards against diversion of

                         dangerously addictive drugs for illicit purposes and by failing to report

                         suspicious orders of opioids, . . . Distributor Defendants injuriously




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                          affected public rights . . . .” Compl. ¶ 364.

                   j.     “[E]ach . . . Distributor Defendant engaged in unfair and/or deceptive

                          trade practices by failing to report suspicious orders of opioids and/or

                          prevent the diversion of highly addictive prescription drugs to illegal

                          sources.” Compl. ¶ 385.

                   k.     “Distributor Defendants breached their duties to exercise due care in the

                          business of wholesale distribution of dangerous opioids, which are

                          Schedule II Controlled Substances, by failing to monitor for, failing to

                          report, and filing highly suspicious orders time and again. Because the

                          purposes of these duties was to prevent the resulting harm – misuse and/or

                          diversion of highly addictive drugs for non-medical purposes – the causal

                          connection between Defendants’ breach of duties and the ensuing harm

                          was entirely foreseeable.” Compl. ¶ 400.

           29.     Although Plaintiffs allege that Massachusetts law incorporates federal regulations

promulgated under the CSA, see Compl. ¶ 192, Plaintiffs fail to cite any specific provision of

state law that imposes a requirement that wholesale pharmaceutical distributors or pharmacies

identify and report suspicious orders of controlled substances to a Massachusetts government

official or entity, or a state law source for a requirement that wholesale pharmaceutical

distributors halt suspicious orders of controlled substances from registered pharmacies. To the

contrary, the Massachusetts laws that Plaintiffs cite—specifically, Mass. Gen. Laws Ann. ch.

94C §§ 7(a), 12(a)(1) and (2)—require only that wholesale distributors and pharmacies comply

with federal laws and regulations governing the distribution of controlled substances.           See

Compl. ¶¶ 192, 199, 206.




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           30.     The federal question presented by Plaintiffs’ claims therefore is “(1) necessarily

raised, (2) actually disputed, (3) substantial, and (4) capable of resolution in federal court without

disrupting the federal-state balance approved by Congress.” Gunn, 568 U.S. at 258.

           31.     First, Plaintiffs’ state law claims “necessarily raise” a federal question because

“resolution of the dispute requires interpretation of a . . . federal issue.” Iberiabank v. Beneva 41-

I, LLC, 701 F.3d 916, 919 n.4 (11th Cir. 2012); see also Rhode Island Fishermen's All., 585 F.3d

at 49 (federal issue necessarily raised where “the[ ] asserted right to relief under state law

requires resolution of a federal question”); PNC Bank, N.A. v. PPL Elec. Util. Corp., 189 F.

App’x 101, 104 n.3 (3d Cir. 2006) (federal question necessarily raised where “the right to relief

depends upon the construction or application of federal law.” (citation omitted)); see also N.

Carolina by & through N. Carolina Dep’t of Admin. v. Alcoa Power Generating, Inc., 853 F.3d

140, 146 (4th Cir. 2017) (“Regardless of the allegations of a state law claim, ‘where the

vindication of a right under state law necessarily turns on some construction of federal law,’ the

claim arises under federal law and thus supports federal question jurisdiction under 28 U.S.C. §

1331.” (alteration omitted)); Virgin Islands Hous. Auth. v. Coastal Gen. Constr. Servs. Corp., 27

F.3d 911, 916 (3d Cir. 1994) (“[A]n action under 28 U.S.C. § 1331(a) arises only if the

complaint seeks a remedy expressly granted by federal law or if the action requires construction

of a federal statute, or at least a distinctive policy of a federal statute requires the application of

federal legal principles” (emphasis added)).

           32.     As pled, Plaintiffs’ claims against ABDC and the other Distributor Defendants

require Plaintiffs to establish that Distributor Defendants breached duties under federal law by

failing to stop shipments of otherwise lawful orders of controlled substances into Massachusetts.




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           33.     For example, in pleading negligence and negligent misrepresentation, Plaintiffs

allege that “Distributor Defendants misrepresented their compliance with their duties under the

law and concealed their noncompliance and shipments of suspicious orders of opioids to Boston

and destinations from which they knew opioids were likely to be diverted into Boston . . . .”

Compl. ¶ 401 (Count III).

           34.     As noted, however, the alleged duty to prevent or halt shipments of suspicious

orders arises solely under the federal CSA, and not under state law. “Thus, it is not logically

possible for the plaintiffs to prevail on this cause of action without affirmatively answering the

embedded question of whether federal law” required Distributor Defendants to report and halt

shipments of suspicious orders for prescription opioids under the circumstances. Rhode Island

Fishermen's All., 585 F.3d at 49. “That is enough to make out a federal question.” Id.

           35.     While plaintiffs are masters of their complaints, and they “may avoid federal

jurisdiction by exclusive reliance on state law,” Caterpillar, Inc. v. Williams, 482 U.S. 386, 392

(1987) (emphasis added), Plaintiffs here allege violations of federal law as the basis for its state-

law claims.5 Again, although Plaintiffs refer in passing to “Massachusetts state law” that they

claim gives rise to the same duties, see Compl. ¶¶ 199-200, the specific provisions of

5
  Furthermore, it is not necessary for federal jurisdiction that ABDC establish that all of
Plaintiffs’ counts against it raise a federal question. Even if Plaintiffs could prove one or more of
those counts without establishing a violation of federal law, this Court still has federal-question
jurisdiction: “Nothing in the jurisdictional statutes suggests that the presence of related state law
claims somehow alters the fact that [the] complaints, by virtue of their federal claims, were ‘civil
actions’ within the federal courts’ ‘original jurisdiction.’” City of Chicago v. Int’l College of
Surgeons, 522 U.S. 156, 166 (1997).
Because the Court has original jurisdiction over at least one count here, it has supplemental
jurisdiction over Plaintiffs’ remaining counts against ABDC and the other Distributor
Defendants, which are so related that they “form part of the same case or controversy.” 28
U.S.C. § 1367(a); see also Rhode Island Fishermen's All. 585 F.3d at 48 (“[I]f the district court
had original jurisdiction over any one of these causes of action, then it had supplemental
jurisdiction over the rest.”).



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Massachusetts law that they cite do not give rise to an independent duty for wholesale

distributors of controlled substances to report or refuse to fill suspicious orders for prescription

opioids. Tellingly, Plaintiffs extensively cite federal laws and regulations and DEA decisions that

establish a duty to report suspicious orders and prevent opioid diversion. See, e.g., Compl. ¶¶

192-98, 206-09, 222.

           36.     In sum, the Complaint necessarily raises a federal issue—namely, whether

Distributor Defendants violated the CSA.

           37.     Second, this federal issue is “actually disputed” because the parties disagree as to

the scope of alleged duties arising under the CSA and whether Distributor Defendants violated

their duties that, as Plaintiffs plead them, arise only under the CSA. Indeed, this federal issue is

the “central point of dispute.” Gunn, 568 U.S. at 259.

           38.     Third, the federal issue presented by Plaintiffs’ claims is “substantial.” “The

substantiality inquiry under Grable looks . . . to the importance of the issue to the federal system

as a whole.” Gunn, 568 U.S. at 260. Among other things, the Court must assess whether the

federal government has a “strong interest” in the federal issue at stake and whether allowing state

courts to resolve the issue will “undermine the development of a uniform body of [federal] law.”

Id. at 260-62 (citation omitted); Municipality of Mayaguez v. Corporacion Para el Desarrollo

del Oeste, Inc., 726 F.3d 8, 14 (1st Cir. 2013) (“[A] federal issue may also be substantial where

the resolution of the issue has ‘broader significance . . . for the Federal Government.’” (quoting

Gunn, 568 U.S. at 260)). As the Supreme Court explained in Grable, “[t]he doctrine captures the

commonsense notion that a federal court ought to be able to hear claims recognized under state

law that nonetheless turn on substantial questions of federal law, and thus justify resort to the




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experience, solicitude, and hope of uniformity that a federal forum offers on federal issues.” 545

U.S. at 312.

           39.     Plaintiffs’ theories of Distributor Defendants’ liability necessarily require that a

court determine the scope of Distributor Defendants’ obligations under federal law because

regulation of controlled substances is first and foremost federal regulation. See, e.g., Compl.

¶ 193 (“Recognizing a need for greater scrutiny over controlled substances due to their potential

for abuse and danger to public health and safety, the United States Congress enacted the

Controlled Substances Act in 1970. The CSA and its implementing regulations created a closed-

system of distribution for all controlled substances and listed chemicals.”). Indeed, “Congress

specifically designed the closed chain of distribution to prevent the diversion of legally produced

controlled substances into the illicit market[,]” id., “while at the same time providing the

legitimate drug industry with a unified approach to narcotic and dangerous drug control.” H.R.

Rep. No. 1444, 91st Cong. (2nd Sess. 1970), as reprinted in 1970 U.S.C.C.A.N. 4566, 4571-72.

           40.     Plaintiffs’ theories of Distributor Defendants’ liability thus “involve aspects of the

complex federal regulatory scheme applicable to” the national prescription drug supply chain,

Broder v. Cablevision Sys. Corp., 418 F.3d 187, 195 (2d Cir. 2005), and are “sufficiently

significant to the development of a uniform body of [controlled substances] regulation to satisfy

the requirement of importance to the federal system as a whole,” NASDAQ OMX Grp., Inc. v.

UBS Sec., LLC, 770 F.3d 1010, 1024 (2d Cir. 2014).

           41.     Plaintiffs’ attempt to enforce the CSA raises a substantial federal question even

though the CSA does not provide for a private right of action. In 2005, in Grable, the Supreme

Court held that lack of a federal cause of action does not foreclose federal-question jurisdiction.

The Court stated that applying Merrell Dow too narrowly would both “overturn[ ] decades of




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precedent,” and “convert[ ] a federal cause of action from a sufficient condition for federal-

question jurisdiction into a necessary one.” Grable, 545 U.S. at 317; see also, e.g., Ranck v. Mt.

Hood Cable Reg. Comm’n, 2017 WL 1752954, at *4-*5 (D. Or. May 2, 2017) (state law claims

based on violations of Cable Communications Policy Act raise substantial federal questions and

satisfy Grable even though no private right of action exists under Act).

           42.     The CSA itself notes that “illegal importation, manufacture, distribution, and

possession and improper use of controlled substances have a substantial and detrimental effect

on the health and general welfare of the American people” and that “[f]ederal control of the

intrastate incidents of the traffic in controlled substances is essential to the effective control of

the interstate incidents of such traffic.” 21 U.S.C. § 801. Furthermore, “minimizing uncertainty

over” reporting obligations under the CSA “fully justifies resort to the experience, solicitude, and

hope of uniformity that a federal forum offers on federal issues.” New York ex rel. Jacobson v.

Wells Fargo Nat’l Bank, N.A., 824 F.3d 308, 317-18 (2d Cir. 2016); see also PNC Bank, N.A.,

189 F. App’x at 104 n.3 (state law claim “raises a substantial federal question-the interpretation

of” federal statute “over which the District Court properly exercised removal jurisdiction”);

Rhode Island Fishermen's All., 585 F.3d at 51 (“[T]here is a substantial federal interest in

ensuring that actions taken in pursuance of [federal regulatory programs] receive the uniformity

of interpretation that a federal forum offers.”). Thus, “[g]iven that . . . the plaintiffs’ claims turn

on the interpretation of the federal regulations governing” the distribution of controlled

substances “and the importance of those regulations to the Congressional scheme, this case

plainly falls within the narrow swath of cases described in Grable.” Anversa v. Partners

Healthcare Sys., Inc., 835 F.3d 167, 174 (1st Cir. 2016).




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           43.     Removal is particularly appropriate here because Plaintiffs’ action is but one of

more than 1,000 similar actions nationwide, most of which are pending in the MDL in the

Northern District of Ohio. See MDS (Canada) Inc. v. Rad Source Techs., Inc., 720 F.3d 833, 842

(11th Cir. 2013) (“[A] question that will control many other cases is more likely to be a

substantial federal question.”). The MDL judge, Judge Polster, is attempting to achieve a

national solution to this nationwide problem.6

           44.     Fourth, and finally, the federal issue also is capable of resolution in federal court

“without disrupting the federal-state balance approved by Congress.” Gunn, 568 U.S. at 258.

Federal courts exclusively hear challenges to DEA authority to enforce the CSA against

distributors, and litigating this case in a state court runs the risk of the state court applying

federal requirements inconsistently with the manner in which the federal agency tasked with

enforcing the CSA—the DEA—applies them. Federal jurisdiction is therefore “consistent with

congressional judgment about the sound division of labor between state and federal courts

governing the application of § 1331.” PNC Bank, N.A., 189 F. App’x at 104 n.3.

           45.     In summary, removal of this action is appropriate because Plaintiffs’ “state-law

claim[s] necessarily raise a stated federal issue, actually disputed and substantial, which a federal

forum may entertain without disturbing any congressionally approved balance of federal and

state judicial responsibilities.” Grable, 545 U.S. at 314; see also, e.g., PNC Bank, N.A. 189 F.

App’x at 104 n.3 (state law claim based on violation of Internal Revenue Code “gives rise to

federal-question jurisdiction” under Grable); New York ex rel. Jacobson, 824 F.3d at 315–18


6
  Less than two months after the MDL was created, Judge Polster convened the first day-long
settlement conference on January 31, 2018. Judge Polster required attendance by party
representatives and their insurers and invited attendance by Attorneys General and
representatives of the DEA and FDA.



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(state law claims based on defendant’s alleged violation of Internal Revenue Code satisfy

Grable); NASDAQ OMX Grp., Inc., 770 F.3d at 1031 (state law claims premised on violations of

Exchange Act “necessarily raise disputed issues of federal law of significant interest to the

federal system as a whole”); Gilmore v. Weatherford, 694 F.3d 1160, 1176 (10th Cir. 2012)

(“Although plaintiffs could lose their conversion claim without the court reaching the federal

question, it seems that they cannot win unless the court answers that question. Thus, plaintiffs’

‘right to relief necessarily depends on resolution of a substantial question of federal law.’”

(citation omitted)); Broder, 418 F.3d at 196 (state law claims premised on cable provider’s

alleged violations of Communication Act’s uniform rate requirement satisfy “Grable test for

federal-question removal jurisdiction”); Ranck, 2017 WL 1752954, at *5 (state law claims based

on violations of Cable Communications Policy Act satisfy Grable).

           46.     To the extent that the Court determines that some, but not all, of Plaintiffs’ claims

state a substantial federal question, the Court can evaluate whether to retain the non-federal

claims against the Distributor Defendants, Manufacturer Defendants, and Mashali Defendants

under the doctrine of supplemental jurisdiction, 28 U.S.C. § 1367(a).

V.         OTHER REMOVAL ISSUES

           47.     Pursuant to 28 U.S.C. § 1446(b)(2)(A), all defendants that have been properly

joined and served consent to removal.

           48.     The following Defendants have been served with the Complaint and consent

to removal as indicated by their counsel’s signatures below: Purdue Pharma L.P.; Purdue Pharma

Inc.; The Purdue Frederick Company Inc.; Teva Pharmaceuticals USA, Inc.; Cephalon, Inc.;

Johnson & Johnson; Janssen Pharmaceuticals, Inc.; Ortho-McNeil-Janssen Pharmaceuticals, Inc.

n/k/a Janssen Pharmaceuticals, Inc.; Janssen Pharmaceutica, Inc. n/k/a Janssen Pharmaceuticals,

Inc.; Endo Health Solutions Inc.; Endo Pharmaceuticals Inc.; Insys Therapeutics; Mallinckrodt


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LLC; SpecGx LLC; Walgreens Boots Alliance; McKesson Corporation; and Cardinal Health,

Inc.

           49.     Although the following Defendant has not been properly served, and thus its

consent to removal is not required, the Defendant nonetheless consent to removal:

Mallinckrodt plc.7

           50.     Upon information and belief, the Mashali Defendants have not been served, and

thus their consent to removal is not required. In its caption, the Complaint states that the Mashali

Defendants are “c/o David W. Krumsiek,” an attorney at the law firm of Perry Krumsiek, LLP,

who reports that he does not represent the Mashali Defendants.           Dr. Mashali is presently

incarcerated at Devens Federal Medical Center, a federal prison located in Ayer, Massachusetts,

and cannot be contacted by telephone or electronic mail. Further, according to a search of the

online database of the Corporations Division of the Secretary of the Commonwealth of

Massachusetts, New England Wellness & Pain Management, P.C., has been dissolved by court

order or an order of the Secretary of the Commonwealth, as has New England Pain Associates,

P.C., formerly known as New England Pain Institute, P.C.8

           51.     Even if the Mashali Defendants had been properly served, their consent to

removal still would not be required because they are nominal parties. See Ryan v. State Bd.

of Elections of State of Ill., 661 F.2d 1130, 1133–34 (7th Cir. 1981) (joinder of nominal

defendant in removal petition unnecessary) (citations omitted); cf. Bailen v. Deitrick, 84 F.2d

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  Mallinckrodt plc, an Irish public limited company, disputes that it has been served, but consents
to this notice out of an abundance of caution and expressly reserves all defenses, including those
related to personal jurisdiction and service of process.
8
 It appears that Plaintiffs have identified Greystone Pain Management, Inc. not as a standalone
Defendant, but as an alias of New England Wellness & Pain Management, P.C., which, as noted
above, has been dissolved.



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375, 375–76 (1st Cir. 1936) (“It is the established rule that, where a suit brought in a state court

against several defendants is subject to removal and its removal is applied for, all the defendants

who are necessary and not merely nominal parties must be joined in the removal proceedings.”)

(emphasis added).         Because Plaintiffs seek relief almost exclusively from Distributor

Defendants and Manufacturer Defendants based on their alleged conduct (and because New

England Wellness & Pain Management, P.C. and New England Pain Associates, P.C., formerly

known as New England Pain Institute, P.C. have been dissolved), the judgment-proof Mashali

Defendants have no real and substantial stake in the litigation and are not real parties in

interest. See Tri-Cities Newspapers, Inc. v. Tri-Cities Printing Pressmen & Assistants'

Local 349, 427 F.2d 325, 327 (5th Cir. 1970) (“The ultimate test of whether the . . .

defendants are . . . indispensable parties . . . is whether in the absence of the

(defendant), the Court can enter a final judgment consistent with equity and good

conscience which would not be in any way unfair or inequitable to plaintiff.”

(quotation marks omitted)); Broyles v. Bayless, 878 F.2d 1400, 1403 (11th Cir. 1989)

(“[A] real party in interest is a party that has a real and substantial stake in the

litigation and who exercises substantial control over the litigation.”).

           52.     Regarding the unidentified Defendants, Jane Does 1 – 50, “the general rule that

all defendants must join in a notice of removal may be disregarded where, as here, the non-

joining defendants are unknown.” Green v. America Online (AOL), 318 F.3d 465, 470 (3d Cir.

2003) (citation omitted); see e.g., Parks v. Town of Leicester, Civ. No. 10–30120–FDS, 2012

WL 2088926, *3 (D. Mass. June 7, 2012) (action involving multiple defendants including

unknown “John Doe,” removed on original jurisdiction grounds).




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           53.     By filing this Notice of Removal, ABDC and the consenting Defendants expressly

reserve, and do not waive, any and all defenses that may be available to them, including those

related to personal jurisdiction and service of process.

           54.     If any question arises as to propriety of removal to this Court, ABDC requests the

opportunity to present a brief and oral argument in support of its position that this case has been

properly removed.

           55.     Pursuant to 28 U.S.C. § 1446(d), ABDC will promptly file a copy of this

Notice of Removal with the clerk of the state court where the lawsuit has been pending and serve

notice of the filing of this Notice of Removal on Plaintiffs.

           56.     ABDC reserves the right to amend or supplement this Notice.

           WHEREFORE, ABDC removes this action, pending in the Superior Court Department,

Commonwealth of Massachusetts, Case No. 1884CV02860BLS2, to this Court.



Dated: October 18, 2018                              /s/ Joshua D. Dunlap
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                                       Certificate of Service

           I hereby certify that on October 18, 2018, a copy of the foregoing Notice of Removal,

with exhibit, was served via e-mail and by United States First Class Mail, postage prepaid, on

counsel of record as follows:


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